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How do | archive or delete content that | share on my
Facebook News Feed or timeline?

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Right now this feature isn't available to everyone.

You can archive or delete some of the content you share on Facebook, like posts, photos and
videos, directly from your News Feed or your timeline. From each post, you can choose to:

e Move to Archive. When you move content to your Archive, it'll only be visible to you.
If you choose to restore your content, it'll be visible to the audience that was selected
before it was moved to Archive.

e Move to Trash. When you move content to your Trash, it'll stay there until it is
automatically deleted 30 days later. While it’s in your Trash, it'll only be visible to you.

e During the 30 days, you can restore your content to where you originally
posted it on Facebook, move it to your Archive or you can select content to
delete before the 30 days are over. When you restore your content, it'll be
visible to the audience that was selected before it was moved to Trash.

e After 30 days, the content will be automatically deleted and can’t be restored.

You can also manage some of your content from the Manage Activity section of your activity
log. Learn more about managing Archive and Trash in your activity log.

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Case 1:18-cv-05398-DLI-JRC Document 118-15 Filed 12/22/21 Page 2 of 5 PagelD #: 3209

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1. Go to the post that you'd like to archive.
2. Click *** in the top right of the post.

3. Click Move to Archive.

To restore your archived content:
You can restore your archived content in your activity log.

1. Click your profile picture in the top right of Facebook.

2. Click “” below your name, then click !=Activity Log.
3. In the top left of your activity log, click Archive. From here:

e If you see the content you want to restore:

1. Hover over the content you'd like to restore, then click ~ .
2. Click Restore to profile, then click Restore.
e If you don't see the content you'd like to restore:

1. Click Filter at the top of your activity log, then filter your content by
date.

2. Add a start and end date, then click Save Changes.

3. Hover over the content you'd like to restore, then click ~.

4. Click Restore to profile, then click Restore.

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To move your content to Trash:

1. Go to the post that you'd like to trash.

2. Click *** in the top right of the post.
3. Click Move to Trash.

Keep in mind, when you move something to Trash it'll be automatically deleted after 30 days,
unless you choose to delete it sooner or restore it. Once the content is deleted after 30 days,
it can’t be restored.

To restore content you've moved to Trash
You can restore content in your Trash in your activity log.

1. Click your profile picture in the top right of Facebook.

2. Click “* below your name, then click !=Activity Log.
3. In the top left of your activity log, click Trash.
4. From here, you can:

e Restore your content to where it was when you posted it: Hover over the

content you'd like to restore, then click ~ . Click Restore to profile, then click
Restore to confirm.

¢ Move content to your Archive: Hover over the content, then click ~ . Click
Move to archive. Your content will move to your archive.

After you've moved your content to Trash, it'll be deleted after 30 days. During the 30 days,
you can restore your content to where you originally posted it on Facebook. When you

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